
In re Grant, Wilfred; — Plaintiff(s); applying for supervisory and/or remedial writs; Parish of Orleans, Criminal District Court, Div. “J” No. 370-386; to the Court of Appeal, Fourth Circuit, No. 97KW-1227.
Writ granted in part; otherwise denied; case remanded to the district court. The district court is ordered to appoint counsel for relator for purposes of conducting an evidentiary hearing at which it will determine whether relator was wearing identifiable prison garb at trial, and if so, whether his attorney’s failure timely to raise the issue at trial constitutes ineffective assistance of counsel under the standard set out in Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052, 80 L.Ed.2d 674 (1984). See, e.g., State v. Wise, 94-2993 (La. 12/6/96), 684 So.2d 408. In all other respects, the application is denied.
MARCUS, TRAYLOR and KNOLL, JJ., would deny the writ.
KIMBALL, J., not on panel.
